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AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                          Middle District of Alabama
                                                                         )
              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                         )
                                   V.
                                                                         )
            COURTNEY DEANDREA STANTON                                    )         Case Number: 2:18cr352-ALB-2
                                                                         )
                                                                         )         USM Number: 01280-120
                                                                         )
                                                                         )          Michael Kidd
                                                                                   Defendant's Attomey
                                                                         )
THE DEFENDANT:
   pleaded guilty to count(s)         2 of the Indictment on March 6, 2019

E pleaded nolo contendere to count(s)
  which was accepted by the court.
E was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended               Count
 18 USC §1168(b)and 2               Employee Theft from an Indian Gaming Establishment                      8/11/2018                   2

                                    Exceeding $1000



       The defendant is sentenced as provided in pages 2 through               6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
E The defendant has been found not guilty on count(s)
   Count(s)      1 of the Indictment                   [21 is    E are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         12/17/2019
                                                                        Date of Imposition of Judgrnent



                                                                         /s/ Andrew L. Brasher
                                                                        Signature of Judge




                                                                         Andrew L. Brasher, United States District Judge
                                                                        Name and Title of Judge



                                                                         12/17/2019
                                                                        Date
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 AO 245B (Rev. 02/18) Judgment in a Crimina] Case
                      Sheet 4—Probation
                                                                                                    Judgment—Page    2    of        6
DEFENDANT: COURTNEY DEANDREA STANTON
CASE NUMBER: 2:18cr352-ALB-2
                                                           PROBATION

You are hereby sentenced to probation for a term of:
  3 yrs.




                                                    MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drug tests thereafter, as determined by the court.
            ❑ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check ifapplicable)
4.   i7:1 You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5.   ❑ You must comply with the requirements of the Sex Offender Registration and Notification Act(34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check fapplicable)
6. 0 You must participate in an approved program for domestic violence. (check f       i applicable)
7. 0 You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.(check Y'applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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  AO 245B (Rev. 02/18) Judgment in a Criminal Case
                       Sheet 4A — Probation
                                                                                                 Judgment—Page        3       of         6

DEFENDANT: COURTNEY DEANDREA STANTON
CASE NUMBER: 2:18cr352-ALB-2

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                    Date
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 AO 245B (Rev. 02/18) Judgrnent in a Criminal Case
                      Sheet 4B — Probation
                                                                                            Judgment—Page   4   of      6
DEFENDANT: COURTNEY DEANDREA STANTON
CASE NUMBER: 2:18cr352-ALB-2

                                               ADDITIONAL PROBATION TERMS
1. That beginning in January, 2020, the Defendant shall spend 2 consecutive weekends(48 hours) in the Montgomery
   County Jail.

2. That beginning February 1, 2020, the Defendant shall participate in the Location Monitoring Program and shall comply
   with the conditions of home detention, which will be monitored by a location monitoring system determined by the
   probation officer, for a period of 7 months. The Defendant can attend educational, religious, or employment
   obligations or anywhere else as approved by the probation officer. The Defendant shall wear(a)location monitoring
   device(s) and follow the monitoring procedures specified by the probation officer. The Defendant shall pay all costs of
   the program based upon her ability to pay as determined by the probation officer.

3. That Defendant is not allowed entry in any casino during her 3 year term of probation.

4. That Defendant shall complete 30 hours community service at a time and location approved by the United States
   Probation Office.

5. That Defendant provide the probation officer any requested financial information.

6. That Defendant shall not obtain new credit without approval of the Court unless in compliance with the payment
   schedule.
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AO 245B (Rev. 02/1 8) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties
                                                                                                        Judgment — Page     5    of        6
DEFENDANT: COURTNEY DEANDREA STANTON
CASE NUMBER: 2:18cr352-ALB-2
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                   JVTA Assessment*                 Fine                      Restitution
 TOTALS             $ 100.00                   $                                                            $ 192,800.00



 O The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case(AO 245C) will be entered
   after such determination.

 O The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                       Total Loss**             Restitution Ordered         Priority or Percentage
  PCI Gaming Authority-ATTN: Brent Pinkston                                                            $192,800.00

  1801 Eddie L. Tullis Road

  Montgomery, AL 36117




TOTALS                                                         0.00                            192,800.00


O      Restitution amount ordered pursuant to plea agreement $

O     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      0 the interest requirement is waived for the            0 fine      0 restitution.

      0 the interest requirement for the           0 fine       CI    restitution is modified as follows:

* Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 02/18) Judgrnent in a Crim inal Case
                     Sheet 6 — Schedule ofPayments

                                                                                                           Judgment — Page     6      of           6
DEFENDANT: COURTNEY DEANDREA STANTON
CASE NUMBER: 2:18cr352-ALB-2


                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    0 Lump sum payment of$             192,900.00           due immediately, balance due

           ❑     not later than                                  , or
           IA    in accordance with ❑ C,         ❑ D,        ❑    E, or     12I F below; or

B    CI   Payment to begin immediately(may be combined with               CI C,       ❑ D, or      CI F below); or

C    El   Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                       (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

D    CI   Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    El   Payment during the term ofsupervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0 Special instructions regarding the payment of criminal monetary penalties:

           All criminal monetary payments shall be paid to the Clerk, United States District Court, One Church Street,
           Montgomery, Alabama 36104. Any balance of restitution at the start of probation shall be paid at the rate of not
           less $100.00 per month. To the extent that other Defendants are ordered in this case or in any other case to be
           responsible for some or all of the restitution amount owed to the victim, the victim is entitled to only one recovery,
           from whom received. In other words, the victim is not allowed to receive compensation in excess of it's loss.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



El   Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
      SEE F ABOVE. Related cases/defendans: Timothy Dean Pettiway - 2:18cr352-ALB-1 and Jory D'Michael Trayvunn
      Dumas and Tameka Thomas - 2:19cr219-ALB.



El   The defendant shall pay the cost of prosecution.

CI   The defendant shall pay the following court cost(s):

CI   The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order:(1)assessment,(2)restitution principal,(3)restitution interest,(4)fine principal,(5)fine
interest,(6)community restitution,(7)JVTA assessment,(8)penalties, and (9) costs, including cost of prosecution and court costs.
